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    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11

   12    KEVIN RISTO, on behalf of himself          Case No. 2:18-cv-07241-CAS-PLA
   13    and all others similarly situated,
                                                     Class Action
   14                    Plaintiff,
                                                     DECLARATION OF ANNA K.
   15    vs.                                         LYONS IN SUPPORT OF
   16                                                DEFENDANT’S OPPOSITION TO
         SCREEN ACTORS GUILD-                        PLAINTIFF’S MOTION FOR
   17    AMERICAN FEDERATION OF                      RECONSIDERATION
   18
         TELEVISION AND RADIO
         ARTISTS, a Delaware corporation;
   19    AMERICAN FEDERATION OF
         MUSICIANS OF THE UNITED                      Discovery Cut-Off:      March 1, 2021
   20
         STATES AND CANADA, a California              Pre-Trial Conference:   July 19, 2021
   21    nonprofit corporation; RAYMOND M.            Trial Date:             August 17, 2021
   22    HAIR, JR., an individual, as Trustee of
         the AFM and SAG-AFTRA Intellectual
   23    Property Rights Distribution Fund;
   24    TINO GAGLIARDI, an individual, as
         Trustee of the AFM and SAG-AFTRA
   25    Intellectual Property Rights
   26    Distribution Fund; DUNCAN
         CRABTREE-IRELAND, an individual,
   27    as Trustee of the AFM and SAG-
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                                      DECLARATION OF ANNA K. LYONS
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    1    AFTRA Intellectual Property Rights
    2    Distribution Fund; STEFANIE TAUB,
         an individual, as Trustee of the AFM
    3    and SAG-AFTRA Intellectual Property
    4    Rights Distribution Fund; JON JOYCE,
         an individual, as Trustee of the AFM
    5    and SAG-AFTRA Intellectual Property
    6    Rights Distribution Fund; BRUCE
         BOUTON, an individual, as Trustee
    7    of the AFM and SAG-AFTRA
    8    Intellectual Property Rights
         Distribution Fund; and DOE
    9    DEFENDANTS 1-10,
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                       Defendants.
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                                DECLARATION OF ANNA K. LYONS
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    1                          DECLARATION OF ANNA K. LYONS
    2             I, Anna K. Lyons, declare as follows:
    3             1.    I am admitted to practice law in the State of California and am an
    4   attorney in the law firm of Jenner & Block, LLP (“Jenner & Block”), which serves
    5   as counsel of record for Defendants Screen Actors Guild-American Federation of
    6   Television and Radio Artists (“SAG-AFTRA”), American Federation of Musicians
    7   of the United States and Canada (“AFM”), Raymond M. Hair, Jr., Tino Gagliardi,
    8   Duncan Crabtree-Ireland, Stefanie Taub, Jon Joyce, and Bruce Bouton (collectively,
    9   “Defendants”). I submit this declaration in support of Defendants’ response to
   10   Plaintiff Kevin Risto’s (“Plaintiff”) Motion for Reconsideration of this Court’s
   11   January 11, 2021 Order on Plaintiff’s motion to compel compliance with Request
   12   for Production No. 40. If called to testify, I could and would testify as to the
   13   following based on personal knowledge.
   14             2.    The redacted version of the December 2013 Fund Board of Trustee
   15   Meeting Minutes produced by Defendants on November 22, 2019 is attached hereto
   16   as Exhibit 1.
   17             3.    The un-redacted version of the December 2013 Fund Board of Trustee
   18   Meeting Minutes produced by Defendants on September 28, 2020 is attached hereto
   19   as Exhibit 2.
   20             4.    An excerpt from the Deposition of the Fund’s designee witness,
   21   Stefanie Taub, explaining the purpose of the Fund’s conflict of interest policy is
   22   attached hereto as Exhibit 3.
   23             5.    The August 20, 2020 subpoena Plaintiff served on the Fund calling for
   24   the production of 24 categories of documents, including documents related to the
   25   Fund’s conflict of interest policy, is attached hereto as Exhibit 4.
   26             6.    Defense counsel and Plaintiff’s counsel discussed in correspondence
   27   dated September 4, 2020 and September 10, 2020 that the Fund’s deposition would
   28   take place either on October 20, 2020, or else on a later date. The Fund made no

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    1   representations about the timing of its production of documents in response to the
    2   subpoena in the course of this correspondence, nor did Plaintiff request any
    3   information regarding the timing of the Fund’s document production.
    4             7.    On September 17, 2020, the Fund sent a letter demanding that
    5   Defendants immediately produce conflict of interest policy documents – documents
    6   that had never been requested from Defendants, and that had only recently been
    7   requested from the Fund.         Without having received these recently-requested
    8   documents, Plaintiff’s counsel nonetheless elected to proceed with Mr. Joyce’s
    9   deposition on September 22, 2020. At this time, only two of an ultimate 17
   10   depositions had been taken. The Court had not yet set a discovery cutoff.
   11             8.    The Fund produced documents responsive to Plaintiff’s subpoena on
   12   November 30, 2020, weeks in advance of the deposition of the Fund’s designee,
   13   which took place on January 20, 2021.
   14             9.    The Fund’s conflict of interest policy was first adopted in 2014; there
   15   was no written conflict of interest policy in place in June 2013.
   16             I declare under penalty of perjury under the laws of the United States of
   17   America that the foregoing is true and correct.
   18             Executed this 24th day of March, 2021.
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                                                 /s/ Anna K. Lyons
   20                                            Anna K. Lyons
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                                      DECLARATION OF ANNA K. LYONS
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